      Case 2:17-cv-02547-DDC-TJJ Document 102 Filed 11/02/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


KENDRA ROSS,

               Plaintiff,
                                                     Case No. 17-2547-DDC-TJJ
v.

ROYALL JENKINS, et al.,

               Defendants.


                                      BENCH WARRANT

       TO:      ANY UNITED STATES MARSHAL, HIS DEPUTIES, AND ALL OTHER LAW

ENFORCEMENT OFFICERS.

       WHEREAS, it is shown to the court that defendant Royall Jenkins herein was ordered to

appear on October 18, 2018, at 4:00 p.m., in Kansas City, Kansas, before United States District

Judge Daniel D. Crabtree of the United States District Court for the District of Kansas to show

cause why he should not be punished for contempt of court for failing to appear for the Judgment

Debtor Examination on September 13, 2018, and for failing to comply with the court’s Order

directing him to respond to Judgment Creditor’s First Set of Post-Judgment Interrogatories and

Document Requests; and

       WHEREAS, defendant Royall Jenkins, having been electronically served with a copy of

the Citation for Failing to Appear for Judgment Debtor Examination and Order to Show Cause,

and having failed to appear before the United States District Judge, at the hearing, as ordered;

and
      Case 2:17-cv-02547-DDC-TJJ Document 102 Filed 11/02/18 Page 2 of 2




        WHEREAS, the above-named court has ordered a Bench Warrant to be issued for

defendant Royall Jenkins’s apprehension and delivery to the custody of the United States

Marshal for the District of Kansas for further proceedings in this case.

        NOW, THEREFORE, you are commanded to apprehend defendant Royall Jenkins and

deliver him to the custody of the United States Marshal for the District of Kansas to abide by the

further order of this court.

        Dated this 2nd day of November, 2018.


                                                     s/ Daniel D. Crabtree
                                                     Daniel D. Crabtree
                                                     United States District Judge




                                                 2
